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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS (FORT
WORTH)

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED
MAY 18 2020

UNITED STATES OF AMERICA, CLERK, U.S. D TRIGT COURT
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V. Case No. 4:16-CR-00132-A-22

 

 

 

 

 

 

 

HOLLY LEANNE FRANTZEN,
Defendant

MOTION TO REDUCE SENTENCE PURSUANT TO
18 U.S.C. § 3582 FOR COMPASSIONATE RELEASE

COMES NOW, Holly Frantzen, ( hereinafter, “Frantzen” or “defendant”),
pro se, respectfully moves this Honorable Court pursuant to 18 U.S.C. § 3582(c)(2)
and the newly amended 18 U.S.C. §3582(c)(1)(A)(i) for an order reducing her
sentence to time served based on her age (49), declining health, and COVID-19.
Frantzen circumstances satisfy the "extraordinary and compelling reasons" under
§3582, as elaborated by the Sentencing Commission in U.S.S.G.§1B1.13. After
considering the applicable factors set forth in 18 U.S.C. §3553(a).
 

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I. INTRODUCTION

In December 2018, Congress enacted the First Step Act (“FSA”) which
modified Title 18 of United States Code Section 3582(c)(1) to allow a defendant to
bring a motion for modification of sentence where “extraordinary and compelling
reasons warrant such a reduction[.]” In December, 2016, Frantzen was sentenced
to the Bureau of Prisons for a term of 200 months for 21:846 Conspiracy to
Possess with Intent to Distribute a Controlled Substance. Over the past 4 years, a
great deal has changed. Frantzen suffered a sudden cardiac arrest.

Attorney General William Barr in late March ordered the Bureau of Prisons
(BOP) to begin working to release nonviolent federal inmates into home
confinement if they met certain criteria, and later expanded the pool of people who
could qualify after declaring the BOP was facing emergency conditions due to the
Coronavirus pandemic. On April 28, the first female inmate serving a 26-month
sentence died of COVID-19 after giving birth to her child, while she was on a
ventilator, according to the U.S. Bureau of Prisons. Upon arrival at the Federal
Medical Center in Fort Worth Texas, the same facility Frantzen is housed due to
medical issues, the inmate was quarantined and later died. At least 39 federal
inmates have died since April of COVID-19. According to the data collected from
The Marshall Project, approximately 9,437 prisoners have caught the coronavirus
and the number of cases has grown more than threefold in the last week alone.

The Novel Coronavirus COVID-19 has presented significant challenges around
the world and has proven deadly. For these compelling reasons, Frantzen
respectfully prays that this Court will grant her a reduction in her sentence and
immediate release pursuant to 18 U.S.C. § 3582(c)(1)(A) based on extraordinary
and compelling circumstances.

Il. BACKGROUND

On December 23, 2016, Frantzen was sentenced to 200 months imprisonment
and 4 years supervised release. Frantzen is now 49 years old and in failing health.
Frantzen requested a reduction in sentence (RIS) based on concerns about COVID-
19. On April 17, 2020, M. Carr, Warden denied her request (Exhibit A). Due to the
increased infection rate of COVID-19, Frantzen is requesting the Court to grant her
Compassionate Release.
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Iii. A REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)(D IS
WARRANTED

Frantzen is currently 49 years old and is a survivor of sudden cardiac death
which makes her vulnerable for contracting COVID-19. In June 2019 at Aliceville
prison, Frantzen suffered a sudden cardiac death (cardioverted for ventricular
tachycardia arrest/ventricular fibrillation) according to her medical report (see
Exhibit B). Frantzen initial LVEF (Left Ventricular Ejection Fraction) was less
than 30% which subsequently improved. Frantzen had on Echocardiogram which
revealed extensive anterior, anteroseptal, anterolateral and apical akinesis, grade III
relaxation abnormality, no significant valular heart, and an estimated LVEF of
25%-30% (see Exhibit B). Frantzen is currently taking Aspirin 81 MG Tablet
Delayed Release orally once a day, Atorvaslatin Calcium (40 MG) Tablet 1 tablet
orally once, Carvedilol (6.25 mg) tablet as directed orally twice a day and Losartan
Potassium Tablet (25 mg). In addition to Venlafaxine ER/XR 24 hour and
Mirtazapine (daily). She has a pacemaker/difibulator for irregular heart.

Frantzen suffers from PTSD due to cardiac death, Depression, Anxiety,
Attention Deficit Hyperactivity Disorder (ADHD) and Scoliosis. Frantzen past
medical history includes Systolic and diastolic heart failure, Nonsustained
ventricular tachycardia (NSVT), Depression Scoliosis, and anxiety.

Furthermore, consideration of the factors enumerated under 18 U.S.C §
3553(a) supports granting § 3582(c)(1) relief. Over the few years, Frantzen has
shown herself to be a model inmate in the BOP. She has taken numerous courses
and programming up until her maladies prevented her from doing so. Frantzen
extensive course included a certificate from a drug class, NA 12-week class, rest
base fitness class, pool class, painting class, mystery hobby class, discipleship
class, and is currently on the waiting list for RDAP- the BOP Drug Program
(Exhibit C). Frantzen worked fulltime in plumbing; she received a Monetary
Achievement Award for her work in plumbing.

In the years of Frantzen’s incarceration she has taken advantage of courses the
BOP has offered and acquired a skill she may use upon returning to society if
permitted to work by a medical doctor. Frantzen has maintained an exemplary
prison record with no infractions (Exhibit D). She has stayed away from any
violence in prison and maintains a constant bond with her father and family. She is
an ideal candidate for an immediate release and will continue to strive upon her
return to society.
 

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Lastly, Frantzen has the love and support of her father and sister (see Exhibit
E). Frantzen wants to make amends for her crime by helping young people stay off
the path that would lead to use of drugs. She would like to be a motivational
speaker to young adults helping them to reach their highest potential.

Frantzen poses no threat to society and her debilitating health further increases
the chance of her dying in prison.

IV. EXTRAORDINARY AND COMPELLING CIRCUMSTANCES
(it) CHANGES MADE TO COMPASSIONATE RELEASE STATUE

With the changes made to the compassionate release statute by the First Step
Act, courts need not await a motion from the Director of BOP to resentence
prisoners under 18 U.S.C. § 3582(c)(1)(A)(i) for “extraordinary and compelling
reasons.” Importantly, the reasons that can justify resentencing need not involve
only terminal illness or urgent dependent care for minor children.

Congress first enacted the modern form of the compassionate release statute,
codified at 18 U.S.C. § 3582, as part of the Comprehensive Crime Control Act of
1984. Section 3582(c) states that a sentencing court can reduce a sentence
whenever “extraordinary and compelling reasons warrant such a reduction.” 18
U.S.C. § 3582(c)(1)(A)G@). In 1984, Congress conditioned the reduction of
sentences on the BOP Director’s filing of an initial motion to the sentencing court.
Absent such a motion, sentencing courts had no authority to modify a prisoner’s
sentence for compassionate release. Id.

Congress never defined what constitutes an “extraordinary and compelling
reason” for resentencing under Section 3582(c). But the legislative history to the
statute gives an indication of how Congress thought the statute should be employed
by the federal courts. The Senate Committee stressed how some individual cases,
even after the abolishment of federal parole, still may warrant a second look at
resentencing.

The Committee believes that there may be unusual cases in which an eventual
reduction in the length of a term of imprisonment is justified by changed
circumstances. These would include cases of severe illness, cases in which other
extraordinary and compelling circumstances justify a reduction of an unusually
long sentence, and some cases in which the sentencing guidelines for the offense of
which the defendant was convicted have been later amended to provide a shorter

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term of imprisonment. S. Rep. No. 98-225, at 55-56 (1983) (emphasis added).
Frantzen has sought relief and is still sentenced to a term of 200 months.

Congress intended that the circumstances listed in § 3582(c) would act as
“safety valves for modification of sentences,” id. at 121, enabling judges to provide
second looks for possible sentence reductions when justified by various factors that
previously could have been addressed through the abolished parole system. This
safety valve statute would “assure the availability of specific review and reduction
of a term of imprisonment for ‘extraordinary and compelling reasons’ and [would
allow courts] to respond to changes in the guidelines.” Jd.

Noting that this approach would keep “the sentencing power in the judiciary
where it belongs,” rather than with a federal parole board, the statute permitted

“later review of sentences in particularly compelling situations.” Jd. (emphasis
added).

Congress initially delegated the responsibility for outlining what could qualify
as “extraordinary and compelling reasons” to the U.S. Sentencing Commission
(“Commission”). See 28 U.S.C. § 994(t) (“The Commission . . . shall describe
what should be considered extraordinary and compelling reasons for sentence
reduction, including the criteria to be applied and a list of specific examples.”).

The Commission took considerable time to promulgate its policy in response to
Congress’s directive. It finally acted in 2007, almost a generation later, with the
very general guidance that “extraordinary and compelling reasons” may include
medical conditions, age, family circumstances, and “other reasons.” U.S.S.G. §
1B1.13, app. n.1(A). However, this guidance did little to spur the BOP to file on
behalf of prisoners who might have met these general standards. After a negative
Department of Justice Inspector General report found that the BOP rarely invoked
its authority under the statute to move for reduced sentences, the Commission felt
compelled to act again. See U.S. Dep’t of Justice, Office of the Inspector General,
The Federal Bureau of Prisons’ Compassionate Release Program, I-2023-006 (Apr.
2013). The Commission amended its policy statement on “compassionate release”
in November 2016. See U.S.S.G. § 1B1.13 Amend. (11/1/2016). In addition to
broadening the eligibility guidelines for sentencing courts, the new policy
statement admonished the BOP for its past failures to file motions on behalf of
inmates who had met the general criteria identified in U.S.S.G. § 1B1.13. See
U.S.S.G. § 1B1.13, n.4; see also United States v. Dimasi, 220 F. Supp. 3d 173, 175
(D. Mass. 2016) (discussing the history of the BOP, DOJ and Commission’s
interplay in developing guidance for “compassionate release” motions). Notably,
the Commission concluded that reasons beyond medical illness, age, and family

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circumstances could qualify as “extraordinary and compelling reasons” for
resentencing. /d., n.1(A) (including a category for “Other Reasons,” when there is
“an extraordinary and compelling reason other than, or in combination with, the
reasons described in subdivisions (A) through (C).”). But see United States v.
Cantu, No. 1:05-CR-458-1, 2019 WL 2498923, at *4 (S.D. Tex. June 17, 2019)
(holding that, given the changes to the compassionate release statute by the First
Step Act, U.S.S.G. § 1B1.13, application note 1(D) “no longer fits with the statute
and thus does not comply with the congressional mandate that the policy statement
must provide guidance on the appropriate use of sentence- modification provisions
under § 3582.”); United States v. Fox, No. 2:14-CR-03-DBH, 2019 WL 3046086,
at *3 (D. Me. July 11, 2019) (“I treat the previous BOP discretion to identify other
extraordinary and compelling reasons as assigned now to the courts.”); United
States v. Cantu- Rivera, No. CR H-89-204, 2019 WL 2578272, at *2 n.1 (S.D. Tex.
June 24, 2019) (“Because the current version of the Guideline policy statement
conflicts with the First Step Act, the newly-enacted statutory provisions must be
given effect.”); United States v. Beck, No. 1:13-CR-186- 6, 2019 WL 2716505, at
*6 (M.D.N.C. June 28, 2019) (holding that application note 1(D) is “inconsistent
with the First Step Act, which was enacted to further increase the use of
compassionate release and which explicitly allows courts to grant such motions
even when BOP finds they are not appropriate,” and courts thus may “consider
whether a sentence reduction is warranted for extraordinary and compelling
reasons other than those specifically identified in the application notes to the old
policy statement”); but see United States v. Lynn, No. CR 89-0072- WS, 2019 WL
3805349, at *4 (S.D. Ala. Aug. 13, 2019) (holding that application note 1(D)
governs compassionate release reductions of sentence and federal judges have no
authority to create their own criteria for what constitutes an “extraordinary and
compelling” reason for resentencing).

The Commission’s actions, however, did little to change the dearth of filings by
the BOP on behalf of inmates who satisfied the Commission’s general guidance.
During the more than three decades during which the BOP was the exclusive
gatekeeper for “compassionate release” motions, very little effort was made to
implement Congress’s intention to provide a safety valve to correct injustices or
allow relief under extraordinary and compelling circumstances.

Finally, this changed with the passage of the First Step Act in 2018. See P.L.
115-391, 132 Stat. 5194, at § 603(Dec. 21, 2018). Section 603 of the First Step Act
changed the process by which § 3582(c)(1)(A) compassionate release occurs:
instead of depending upon the BOP Director to determine an extraordinary
circumstance and move for release, a court can now resentence “upon motion of

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the defendant,” after the inmate exhausted administrative remedies with the BOP,
or after 30 days from the receipt of the inmate’s request for compassionate release
with the warden of the defendant’s facility, whichever comes earlier. 18 U.S.C. §
3582(c)(1)(A). Thus, under the First Step Act, a court may now consider the
defendant’s own motion to be resentenced, without waiting for it to be made by the
BOP. It can also construe the exhaustion requirement as futile given the urgency of
this national emergency and rapid spread of the pandemic.

It appears that some courts have waived that requirement when faced with “the
extraordinary threat posed— in . . . unique circumstances—by the COVID-19
pandemic.” United States v. Perez, No. 17 CR. 513-3 (AT), 2020 WL 1546422, at
*1 (S.D.N.Y. Apr. 1, 2020). In Perez, the court noted:

“Even where exhaustion is seemingly mandated by statute ..., the
requirement is not absolute.” Washington v. Barr, 925 F.3d 109, 118 (2d Cir.
2019) (citing McCarthy v. Madigan, 503 U.S. 140, 146-47, 112 S. Ct. 1081,
117 L.Ed.2d 291 (1992)). There are three circumstances where failure to
exhaust may be excused. “First, exhaustion may be unnecessary where it
would be futile, either because agency decision makers are biased or because
the agency has already determined the issue.” Id. Second, “exhaustion may
be unnecessary where the administrative process would be incapable of
granting adequate relief.” Id. at 119. Third, “exhaustion may be unnecessary
where pursuing agency review would subject plaintiffs to undue prejudice.”
Id. Perez, 2020 WL 1546422, at *2.

Under the circumstances of this the Defendant requested a reduction of
sentence for compassionate release and was denied. At this particular time, the
court should consider excusing a failure to exhaust. Defendant has diligently
pursued any known avenue of release over the past several years and has acted
quickly in light of the current pandemic. Further delay to pursue administrative
remedies could be calamitous.
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(ii) THE CONDITIONS OF BOP INCARCERATION
FOSTER THE SPREAD OF COVID-19, AND FRANTZEN’S
AGE AND DECLINING HEALTH RENDER HER
PARTICULARLY SUSCEPTIBLE TO AN UNREASONABLE
RISK OF DEATH AND AN INABILITY TO TAKE
PREVENTATIVE MEASURES OR SELF-CARE
RECOMMENDED BY THE CDC

With the COVID-19 pandemic, COVID-19 has found its way into Carswell
Federal Medical Center, where Frantzen is housed. Conditions of confinement at
Carswell Federal Medical Center create an optimal environment for the
transmission of contagious disease. The novel Coronavirus is rampant at a Fort
Worth federal prison that houses sick and elderly inmates. The facility has emerged
as a COVID-19 hot spot, setting staff and inmates on edge and fueling controversy
over how the prison system is handling the pandemic according to The Dallas
Morning News.

People who work in the facility leave and return daily; people deliver supplies
to the facility daily; inmates were having social, legal and medical visits regularly
after the initial spread of the virus prior to the BOP’s decision to stop visits for 30
days on March 13, 2020. Public health experts are unanimous in their opinion that
incarcerated individuals “are at special risk of infection, given their living
situations,” and “may also be less able to participate in proactive measures to keep
themselves safe,” and “infection control is challenging in these settings.”
“Achieving a Fair and Effective COVID-19 Response: An Open Letter to Vice-
President Mike Pence, and Other Federal, State, and Local Leaders from Public
Health and Legal Experts in the United States” (March 2, 2020), at

https://bit.ly/2W9V60S.

Frantzen is powerless to take the preventative self-care measures directed by
the CDC for his high-risk group to remain safe from COVID-19 infection. She
cannot self- quarantine or partake in “social distancing” in her prison facility.
There are also community spaces where inmates and prison staff gather throughout
the Federal Bureau of Prisons, including a common room, laundry facilities,
medical areas, dining hall, small library and gym. These high-density areas are
precisely the kind of spaces that have caused the alarmingly high-spread rates of
COVID-19 in prison.
 

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Hand sanitizer, an effective disinfectant recommended by the CDC to reduce
transmission rates, is contraband in jails and prisons because of its alcohol content.
Correctional health experts worry that no matter what precautions are taken by
crowded prisons, these facilities may become incubators for the COVID-19
disease.

During the H1N1 epidemic in 2009, many jails and prisons dealt with high
numbers of cases because they could not maintain the level of separation and
sanitation necessary to prevent widespread infection. “Prisons and Jails are
Vulnerable to COVID-19 Outbreaks,” The Verge (Mar. 7, 2020), available at
https://bit.ly/2TNcNZY.

The Prison Policy Initiative has called on American jails and prisons to release
medically fragile and older adults, noting that these persons are at high risk for
serious complications and even death from COVID-19. Similarly, members of
Congress have written to the BOP to urge that efforts be made to allow immediate
release of non-violent, elderly inmates (like Moreno). Letter of Representatives
Jerrold Nadler and Karen Bass (March 19, 2020) (“DOJ and BOP must also do all
they can to release as many people as possible who are currently behind bars and at
risk of getting sick. Pursuant to 18 U.S.C. 3582(c)(1)(A), the Director of the
Bureau of Prisons may move the court to reduce an inmate’s term of imprisonment
for “extraordinary and compelling reasons.”). In a recent report data collected from
the Marshall Project reveals there are approximately 9,437 prisoners have caught
the Coronavirus and the number of cases has grown more than threefold in the last
week. In fact, out of 2,700 prisoners tested 2,000 were infected with the novel
Coronavirus. As of April 29, 2020, 39 federal inmates’ deaths are due to COVID-
19 and 1 BOP staff death from an Atlanta Federal Penitentiary. And because of the
strong potential for BOP facilities to become “petri dishes,” the Attorney General
recently issues a directive to the BOP that at-risk prisoners be considered for
placement on home confinement.

Given that Frantzen is (49) years old, and she suffers from significant
underlying health issues that make her exceptionally vulnerable to COVID-19,
compelling and extraordinary circumstances exist to support compassionate release
at this unique time in our country’s history. There is an urgent need to act now,
before the virus spreads within the prison and Frantzen becomes infected. In sum,
the risk posed by infectious diseases in jails and prisons is significantly higher than
in the community, both in terms of risk of transmission, exposure, and harm to
individuals who become infected.
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In summary, the COVID-19 virus is highly transmissible, extraordinarily
dangerous, and poses a severe threat of death to the high-risk medical profile of.
The conditions at Carswell do not allow Frantzen to take the self-care measures
required by the CDC to protect her safety.

Accordingly, this Court should find that, in light of the heightened medical risk
presented to Frantzen by the COVID-19 pandemic, there are extraordinary and
compelling reasons to reduce Frantzen’s sentence in the manner requested—to wit,
releasing her from custody and/or requiring her to serve her sentence release on
home confinement, on specified conditions.

This conclusion is supported by the application of the §3553(a) factors.
Frantzen has served a substantial amount of her prison sentence. Section 3553(a)
requires a sentencing court to consider the “history and characteristics of the
defendant” and “the need to provide the defendant with needed . . . medical care.”
18 U.S.C. § 3553(a). Viewed now in the light of a raging and virulent pandemic
that has entered federal prisons and that poses a special risk to Frantzen’s health,
these factors, together, now warrants a reduction in the sentence to time served.
For reasons including those set out at length supports that Frantzen no longer will
present a meaningful danger to the community if at liberty. And the conditions of
her forthcoming home confinement will meaningfully restrict her freedom of
movement during the remainder of the sentence.

(iii) APPOINTMENT OF COUNSEL

Most Court have established procedures to review the sentences of currently
incarcerated individuals that the United States Sentencing Commission (““USSC”)
has identified as potentially eligible for a modification of their term of
imprisonment in accordance with the First Step Act. Defendants Identified by the
USSC as Potentially Eligible for a Modification of an Imposed Term of
Imprisonment. The Court will, pursuant to 18 U.S.C. § 3582(c)(1)(B), review the
list of cases of potentially eligible, and currently incarcerated, defendants provided
to it by the USSC. The United States Probation Office (“Probation”) shall prepare
an analysis of the First Step Act’s impact and shall recommend a modified
sentence, if appropriate. After reviewing Probation’s recommendation, the Court
may enter an order that appoints counsel for the defendant, directs Probation to
make it analysis available to the defendant or defense counsel and the United
States; directs the United States to file a response to the recommendation within 14
days; and permits the defendant or defense counsel to file a reply to the United
States’ response within 14 days of service of the response.

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Motions for Relief under the First Step Act if a pro se defendant submits a letter
to the Court requesting relief under the First Step Act, the Clerk shall accept the
letter and file it as a motion for relief under the First Step Act. The Court shall
review such letters in accordance with the procedures set forth herein.
Appointment of counsel is not required. However, the Court in its discretion and
pursuant to the provisions of the Criminal Justice Act (“CJA”), 18 U.S.C. § 3006A,
may appoint counsel to defendants identified by the USSC as potentially eligible
for relief under the First Step Act. The Court also may appoint counsel for
defendants who are not on the list but have filed a motion and have been
determined to be potentially eligible for relief. If a defendant was appointed
counsel previously under the CJA, the Court will assume that the defendant is
indigent, and counsel may be appointed. If a defendant previously was represented
by retained counsel, the Clerk of the Court shall contact retained counsel to
determine if he or she intends to continue representation of the defendant.

When a defendant files a motion seeking a sentence modification under the First
Step Act, whether in a pro se capacity or through counsel, Probation shall, upon the
assigned judge’s request, prepare an analysis of the First Step Act’s impact on the
defendant’s sentence. As part of its analysis Probation shall recommend a modified
sentence, if appropriate. If Probation concludes, and the Court agrees, that the
defendant is entitled to relief Court may enter an order that appoints the defendant
counsel (if appropriate), directs Probation to make its report available to the
defendant or defense counsel, directs the United States to file a response to the
defendant’s motion within 14 days; and permits the defendant or defense counsel
to file a reply to the United States’ response within 14 days of service of the
response. If Probation concludes, and the Court agrees, that the defendant is not
entitled to relief the Court may enter an order that directs the United States to file a
response to the defendant’s motion within 14 days, and permits the defendant
(whether represented by counsel or proceeding pro se) to file a reply to the United
States’ response within 14 days of service of the response.

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Vv. CONCLUSION

While Frantzen was sentenced to 200 months in prison, she should not have to
die an undignified death by a virus. Frantzen’s medical circumstances are the exact
“extraordinary and compelling” circumstances contemplated by Congress in
writing 18 U.S.C.§ 3582(c)(1)(A) and expounded in the First Step Act of 2018.
Frantzen has not received any sentence reduction since her incarceration.
Extraordinary and compelling reasons and the U.S.C. § 3553(a) factors warrant a
reduction in Frantzen’s sentence to time served. For the foregoing reasons,
Frantzen respectfully requests that the Court grant a reduction in sentence to time
served, amend the condition of supervised release as requested and appoint an
attorney for the proceedings herein.

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Respectfully Submitted,

w Holly Keane Snow

Holly Leathe Frantzen, pro-se

 

Dated: f au [ ge 2020.

CERTIFICATE OF SERVICE

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|

The undersigned hereby certifies that, on | } ay | I , 2020 the
foregoing PRO-SE MOTION IN SUPPORT OF MOTION TO REDUCE
SENTENCE PURSUANT TO THE FIRST STEP ACT OF 2018 was served

upon the U.S. Attorney for the Northern District of Texas via U.S. mail and

pre-paid.

 

 

Holly Leanne Frantzen, pro-se
Reg. No. 54447-177

Federal Medical Center

P.O. BOX 27137

Fort Worth, TX 76127

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Memos/Attachment
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JERAOLD NADLER, New York JIM JORDAN, Ohio

CHAIRMAN

RANKING MINORITY MEMBER

U.S. Bouse of Representatives

Committee on the Judiciary

Washington, BE 20515-6216
Gne Hundred Sixteenth Congress

March 12, 2020

The Honorable William P. Barr
Attorney General

U.S. Department of Justice

950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530

Dear Attorney General Barr:

This week, the World Health Organization declared the novel coronavirus (or COVID-
19) a global pandemic. Reports indicate that the virus has infected at least 125,000 people
worldwide and has led to over 4,300 deaths to date. I write to inquire about the measures taken
by the Department of Justice to ensure the health and welfare of prisoners in the custody of the
Bureau of Prisons (BOP) and the U.S. Marshals Service (USMS) during this crisis. I write also
to inquire about measures taken to ensure the health and welfare of staff and correctional officers

who assist in housing and transporting prisoners in the custody of the BOP and the USMS.

I am especially concerned because the incarcerated and justice-involved populations
contain a number of groups that may be particularly vulnerable to COVID-19. In particular,
health conditions that make respiratory diseases more dangerous are far more common in the
incarcerated population than in the general U.S. population.

I also believe it would be important, at this time, for DOJ to consider measures that can
be taken to reduce the number of prisoners in government custody. Specifically, I believe DOJ
should consider directing U.S. Attorney’s Offices, wherever possible, to not seek the detention of
individuals at their initial appearance in court, decline prosecuting minor, non-violent offenses,
and decline pursuing supervised release and probation revocations that involve technical and
minor violations.

Because of my concems about these serious issues, I ask the following:

1. Has the Justice Department given any direction or guidance to the BOP and the USMS for
dealing with COVID-19? If so, please provide the specific text of the guidance provided.

2. Whether in response to direction or guidance from DOJ or not, have the BOP and the
USMS developed their own policies and procedures regarding COVID-19? Please provide
copies of any and all such policies and procedures.

a. If so, have these policies and procedures been distributed to each facility, including
contract facilities? .
 

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b. What specific measures have been taken to ensure that these policies and
procedures are being implemented in contract facilities that are not BOP-run?

i. If these policies and procedures are not being implemented in contract
facilities, please explain why not and what, if any, alternative measures are
being taken to ensure the health and welfare of inmates who are incarcerated
in those contract facilities.

3. Have the BOP and the USMS, respectively, designated point persons within their agencies
to address COVID-19? Please provide the name and title of each person so designated and
their qualifications for the position.

4. Have additional precautionary measures been taken with respect to sanitation and hygiene,
including frequent cleaning and ready availability of soap and tissues?

5. Is there a comprehensive testing protocol being implemented across the board in BOP
facilities and contract facilities? If not, why not?

6. Are inmates entering BOP and contract facilities being tested at the time of intake? If not,
why not? Conversely, are inmates being tested at the time of their release from BOP or
contract facilities?

7. At this time, are any prisoners in the custody of BOP and the USMS being monitored for
signs of infection?

8. Are testing kits being made available to the BOP and contract facilities? If so, how
quickly are test results being released?

‘ 9. What measures have been taken to ensure that any prisoners testing positive for COVID-
19 are isolated and treated? What about those who have exposed to those who test positive?

|
10. What protocols exist, once a positive case is discovered, to ensure that the rest of the
prisoners in the facility are not exposed? Are any special measures being taken to ensure
high-risk prisoners are not exposed?

11. What is the protocol for deciding when to transport a prisoner with COVID-19 for care at
a hospital?

12. What protocols exist with regards to attorney and family visits? How are attorneys and
family members being notified if a client or family member, respectively, tests positive for
COVID-19?

13. What is the protocol for transporting inmates to court for hearings?

14. Are specific measures being taken to ensure staff at the facilities (whether BOP-run or
contract facilities) have leave available if they develop symptoms of COVID-19? Are
special measures being taken to ensure staffing levels are adequate at all times?

Because of the urgency of this matter, I ask that you respond in writing as soon as possible,
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 17 of 38 PagelD 11498

Sincerely,

Kade.

errold Nadler
Chairman

cc: Jim Jordan
Ranking Member
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 18 of 38 PagelD 11499

Exhibit A
Cage 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 19 of 38 PagelD 11500

U. S. Department of Justice

Federal Bureau of Prisons

 

Federal Medical Center, Carswell

 

‘P.O. Box 27066, J Street, Bldg 3000
Fort Worth, Texas 76127

April 17, 2020
MEMORANDUM FOR FRANTZEN, HOLLY
Reg. No. 54447-177
um“
FROM: M. Carr, Warden
SUBJECT: Compassionate Release/Reduction In Sentence (RIS)

You requested a reduction in sentence (RIS) based on concerns about COVID-19. After careful
consideration, your request is denied.

 

Titl¢ 18 of the United States Code, section 3582(c)(1)(A), allows a sentencing court, on motion
of the Director of the BOP, to reduce a term of imprisonment for extraordinary or compelling
reaspns. BOP Program Statement No. 5050.50, Compassionate Release/Reduction in Sentence:
Progedures for Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and 4205(g), provides guidance
on the types of circumstances that present extraordinary or compelling reasons, such as the
inmfte’s terminal medical condition; debilitated medical condition; status as a “new law” elderly
inmate, an elderly inmate with medical conditions, or an “other elderly inmate”; the death or
incapacitation of the family member caregiver of the inmate’s child; or the incapacitation of the
inmate’s spouse or registered partner. Your request has been evaluated consistent with this
genéral guidance.

The|BOP is taking extraordinary measures to contain the spread of COVID-19 and treat any
affe¢ted inmates. We recognize that you, like all of us, have legitimate concerns and fears about
the spread and effects of the virus. However, your concern about being potentially exposed to,
or ppssibly contracting, COVID-19 does not currently warrant an early release from your
sentence. Accordingly, your RIS request is denied at this time.

If ydu are not satisfied with this response to your request, you may commence an appeal of this
decifion via the administrative remedy process by submitting your concerns on the appropriate
form (BP-9) within 20 days of the receipt of this response.

 
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 20 of 38

Exhibit B

PagelD 11501
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 21 of 38 PagelD 11502

*@/5/2019 5:24 PM ROM: Fax Cardiology Associates Of Vest Alabama TO: 13172296468 PAGE: 004 OF 006

 

 

 

 
   

Summary View for Frantoen, Holly | Account Nomber:10013404 a Page 1 of 3
; FCHARCeviie~
HYG 77
Franizen, Holly
127 old Heel DOR fe
19700-10798 HWY 27, ALICEVILLE, AL-anaaa-neog
Guarantor: Frantzen, Holly Ineurence: SEVEN CORNERS
Payer ID: 25404
Appointmont Facility: Cardiology Assuciates Of Weat Alabama
07/22/2015 Inglis Whitney, NP
Curreat Medications Reason for Appcintment
. 1. Hospital follow up after cardiac arrest and ICD implant (Hospital
tablet Cray Oogles 06/2019 after cardiae arrest, eath, ICD implant)
o ores Caleta 40 M6 Tablet 2. TTE 06/04/2019
e Tesi Ott od History of Present Itmess
a :
reviewed and reconciled Ma. Frantzen presents today for a cardiology follow up after
wih the patient Eee, pts egutpe ecgnctee yflon se
Past Medical asic Ci citer
Syetcihsnd Gaston hear feflane. Ms. Frantaon isa eurvivor of sudden cardiac death was
cardiqverted for ventricular tachycardia cular fibrillation
Never tested for sleep apnea. at Aliceville Prison in June 2019. Her initia] L’ sas les than 30%
which Cardiac at
Anniety/Hepressioa. revealed low ght rt pressures with RA meta 2, RV 26/1, PAP
History PCWP mean 3-4mmHg, and cardiac output
ICD placement 08/29/2089 thermodiinton was 57 ters per minute, EVEY vee Steen
>565%. No eignifleant CAD was noted, Sradycandia was noted and IV
sir Aer aa tat dlaoontinned an 06/06/49 with no tecurrence of VT.
Ko Biktary documented, After consultation with Birmingham EP, she mderwent insertion of a
Social History Ao bee TCD on ch eet a
TIT soching Faticnt ie former andl cient pa Ii relaxation
smoker, . ete rn valvt ee heart de aT relaxation,
contuining siatal 1a the poten pianlebiiel
Vital Stgns
containing obot athe pes yeor Never (a EIR 75 in, Ht of, Weg, BML 2753 Index, hem 16.4,
Weptive. Dress Hatyou vend drugs other | V°NS 69-96 ke.
thairthooe for meiiical ‘essone i tha past 12 Examination
pager fant whdarn General Exam:
Appearatice: well developed and well nouriahed, in no distress.
KDA | weg N° onfeetial nfction, No Xanthelanmn
Hospitalization Major Juguler Venous Distention: Abeent
Chest Pais (Cardiac Arrest) 06/04/2019

 

Carotid upstroke normal.

 

Patient: DOB: Note: NP
Franzen, Holly molly Dol 05/10/3970 Progress ona, Inglis Whitney, 07/22/2019

hitps://alcaweapp.coweloud.cony/mobiledoc/jsp/catalog/xml/printChartOptions jsp?encounte... 8/5/2019
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 22 of 38 PagelD 11503

usr 5:24 PM FROM: Fax Cardialogy Associates Of West Alabama TO: 13172296468 pace 008 OF 006
Sumunary View for Frantzen, Holly | Account Number:10013404 Page 2 of 3
{
[
Review of Systems iy
Denies Fover, Heart sounds: S1 and Sz are normal. No significant murmur is

as — Saspaptoce Beam:
Denies Syncope. Lungs: clear to auscultation.

Desies Deuiies Palpitations. <
Leg cramps, Denies Muscle Sarina: sof, nousendet, nondistended, no hepetoapleaomegaly,
Dees Fal cing neg afer Extremities: no leg edema, no no .
emxths. d clubbing, no cyanosis,

   

Denkes DifScolky sleeping, 1. Chronic corabined and

| i. Cin : syetolio (congestive) diastolic (congestive)
Frenette veatic(nepicatable)candiae defiieator Zo68
3 { - 10
4: Bseentia] (primary) hypertension -l10 -
Treatment . .
1. Chronic combined systolic (congestive) and diastolic
(congestive) heart faitore )
Start Losarten Potassium Talilet, 25 MG, 1 tablet, Orally, Onte a day,
30 day(s), $0, Refills 11

 

; | BP TOLERATES TO agMG BID. .
Clinical Notes: Fiuid intake control (less than 1500 cc daily), low
' «] sodium diet weight management, medication compliance.

2. Ventricular tachycardia a
Notes: DEVICE INTERROGATION TODAY REVEALED NO
' ARRHYTHMIA. CONTINUE BETA BLOCKER.

- @. Presence of antomatic (iuplantable) cardine defibrillator
Notes: Site check: dressing, steri-strips and 2 staples removed.

 

 

Patient: Frantzen, Holly DOB: 0§/10/1970 Progress Note: Inglis Whitney, NP_07/22/2019

4

ips ekaanpperwelond.conshobiledoep/eatalog hal frat Chart Options jpPencounte.. 9/5/2019
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 23 of 38 PagelD 11504

9/5/2019 §:24 PH FROM: Fax Cardiology Associates Of West Alabama TO: 13172296468 PAGE: 006 OF 006

Summary View for Frantzen, Holly | Account Number:10013404 Page 3 of 3

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t

|
4

4. Essential (primary) hypertension

Notes: RECOMMEND LOSARTAN BE STARTED AND COREG
"INCREASED TO 72.5 MG BID THEN 25 MG BID AS BP TOLERATES,
ACCORDING TO STARF WITH PATIENT. RECOMMENDATIONS
CAN BE MADE AND PHYSICIAN AT THE PRISON WILL
ULTIMATELY MAKE THE CHANGES.

5. Others.

Continue Atorvastatin Calcium Tablet, 20 MG, 2 tablet, Orally, Once:

day, 90 days, 90 Tablet, Refills 6 .
.

93000 -ELECTROCARDIOGRAM,

CHECK SITE CHECK-GLOBAL

Follow Up
6 Months (Rezson: follow up)

armors
by Whitney Inglis , CRNP on

Electronically signed by
08/02/2019 at 10111 AM CDT
Sign off status: Completed

 

 

 

- Patient: Franteen, Holly DOB: og/10/1970 Progress Note: Inglis Whitney, NP_ 05/22/2019

Nole generated by eCinicelVor: EMFYPM Solemare (enn.CinicelWorks.com)

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Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 24 of 38 PagelD 11505

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DCH Healthcare Authority Patient Name: FRANTZEN,HOLLY

809 University Boulevard East Med Rec #: M003134914
Tuscaloosa; AL 35403 Date: 06/20/19
Patient Health Summary

 

| Oischarge Instructions:

Physician Instructions
Diet Cardiac/Modified Fat,NAS

Primary Care Follow-up:
{n: prison MD to follow
Additional Instructions:
Cardiac arrest:
Unclear etiology; it appears the elevated cardiac biomarkers may have been secondary to the arrest
rather than due to an NSTEMI, which caused it; patient may have had a pulmonary cause or arrhythmia
g to the arrest
-LHC normal, and patient’s cardiac function ap to have im somewhat
'4CD for secondary prevention placed 6/19 pears proved

‘ Hypotension, resolved

 

Fever:
resolved
completed Zosyn

NSTEM! related to decreased cardiac perfusion from cardiac arrest:
continue aspirin

 

Acute hypoxemic respiratory failure:

im
' sip extubation, off supplemental O2
; Dr. Aslam's follow up appreciated

{
Nonsustained Vtach: ICD today as per cardiology

Acute systolic and diastolic CHF:
' EF - 25 -30%, grade 3 DD, now apparently improved somewhat on LHC
ited on carveditol dose as per Dr. Kamal and very low dose lisinopril
a jan:
Problene: See problems listed above.

Goal: Resolution of problems

2 Keep all follow up and referral
eep up appointments.
| * Take your medications as Instructed.
* Follow ail d e Instructions.
‘ * if your condition ges or you have questions regarding your instructions, please contact your
primary care physician.
* Take your medication list with you to all healthcare related visits and appointments.

Discharge To; Correctional Facfail

Additional Followup Appointment:
FOLLOWUP WITH DR. SAKINA KAMAL ON MONDAY,JULY 8th AT
t 9:30am FOR ICD TEACHING AND DRESSING CHANGE 343-2811

Discharge Plan

Additional Follawup Appointment:

, FOLLOWUP WITH SAKINA KAMAL ON MONDAY,JULY 8th AT
f 9:30am FOR ICD TEACHING AND DRESSING CHANGE 343-2811

 

 

Discharge Summary

 

Created on 06/20/19 @ 1150

Page 1

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Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 25 of 38 PagelD 11506

Exhibit C
 

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Cage 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 27 of 38 PagelD 11508

U.S. DEPARTMENT OF JUSTICE

 

 

 

BP~A057
JUN 10 FEDERAL BUREAU OF PRISONS
score SPECIAL AWARD RECOMMENDATION ~ INMATE
Instifution Unit Date
FMC Carswell 1-North 12/21/2019
Inmate’s Name Register No. Work Assignment
Frantzen, Holly 54447-177 Plumbing 2

 

 

 

Recommend Monetary Special Award in the amount of super bP
In redognition of the following special act:

 

yan act of heroism.
Voluntary acceptance and satisfactory performance of an unusually

hazardous assignment.
An act which protects the lives of employees or inmates,

property of the United States.

C or the
A aavinet which result in substantial improvements or cost-savings

 

in institutional programs or operations.
Other exceptionally meritorious or outstanding services.

Justification
Inmate jFrantzen showed impressive work ethic and drive while installing large industrial

in a confined space sub-basement area, to help complete the laundry project. The

piping

. Sub-ba ent area where we are working has very little room to move with multiple
hazardgus utilities. Inmate Frantzen was tasked with very difficult tasks that had to be
completied on a deadline. Inmate Frantzen stayed level headed, took the tasks in stride,
and c leted the tasks to exemplary satisfaction. Inmate Frantzen truly went above and
beyond fher normal scope of work. If not for Inmate Frantzen's hard work and specialized

skills fin the trade the job couid not have been completed within the deadline. .

 

Submitted by

_Printed y an ignature Title
E Bhs (GS) ee umgive- OS

Approved by

 

 

 

 

 

 

 

 

Department Head Date
fi [2-H AG
Chief [Executive Offic
Sd 224] a-—
Regional Director (Awards Exceeding $150.00) } ,

 

 

Award Pate Approved Award Amount$

 

 

PDF . . Prescribed by P5251 yy

 
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 28 of 38

Exhibit D

PagelD 11509
 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 29 of 38 PagelD 11510
individualized Reentry Plan - Program Review (inmate Copy) SEQUENCE: 02014440
Dept. of Justice / Federal Bureau of Prisons Team Date: 06-27-2019
Plan is for inmate: FRANTZEN, HOLLY LEANNE 54447-177
Facility: ALI ALICEVILLE FCI Proj. Rel. Date: 09-03-2031
Name: FRANTZEN, HOLLY LEANNE . Proj. Rel. Mthd: GCT REL
Register No. 54447-177 DNA Status: OKLO6549 / 07-12-2016
Age: 49
Date pf Birth: 05-10-1970
[Detaining| Agency Remarks |
NO DETAINER
Current Work Assignments __
[Fact {Assignment Description Start |
Au , |PLuMe 2 PLUMBING 2 DETAIL 06-20-2019
[Fact Assignment Description Start
AL ESL HAS ENGLISH PROFICIENT 03-05-2017
Au GED HAS COMPLETED GED OR HS DIPLOMA 04-22-2017
Education Courses wee et a ee
|SubFacl [Action Description Start Stop
ALI PLUMBER APPRENTICESHIP-FCI 04-15-2018 CURRENT
ALI c WOMEN'S REST BASED FITNESS 06-16-2017 08-10-2017
ALI c PAINT 1 FCI 04-06-2017 05-25-2017
AL Cc BILLIARDS 03-17-2017 05-05-2017
Disciplinp History (Last 6 months) ae ee oe

 

 

* NO INCIENT REPORTS FOUND IN LAST 6 MONTHS **
Current Gare Assignments ee

 

 

 
 

 

 

 

 

 

 

 

[Assignment Description Start |
CARE1 HEALTHY OR SIMPLE CHRONIC CARE 03-01-2017
CARE1-MH| CARE1-MENTAL HEALTH 03-06-2017
Current Medical Duty Status Assignments —__
[Assignment Description Start
LOWER BUNK LOWER BUNK REQUIRED 10-16-2018
REG D NO MEDICAL RESTR-REGULAR DUTY 03-01-2017
YES F/S CLEARED FOR FOOD SERVICE 03-01-2017
Current #rug Assignments | ages Le
(Assignment Description Start
DAP QUAL " RESIDENT DRUG TRMT QUALIFIED 04-04-2018
ED COMP DRUG EDUCATION COMPLETE 42-12-2017
iNELIGIB 18 USC 3621 RELEASE INELIGIBLE 04-16-2018
NR WAIT NRES DRUG TMT WAITING 03-12-2018
ERP , a a
{Most Regent Payment Plan
FRP Assignment: COMPLT FINANC RESP-COMPLETED Start: 09-20-2017
inmate Decision. AGREED $75.00 Frequency: SINGLE
Payments past 6 months: $0.00 Obligation Balance: $0.00
Financial Gpligations : fe ee eee auth obs Lane:
[No. Type Amount Balance Payable Status |
1 ASSMT $100.00 $0.00 IMMEDIATE COMPLETEDZ

 

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

 

Sentry Data as of 06-27-2019 individualized Reentry Plan - Program Review (Inmate Copy) Page 1 of 3

 

[Hearing pate Prohibited Acts | _|
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 30 of 38 PagelD 11511

 

Individualized Reentry Pian - Program Review (Inmate Copy) SEQUENCE: 02014440
Dept. of Justice / Federal Bureau of Prisons Team Date: 06-27-2019

 

= Plan is for inmate: FRANTZEN, HOLLY LEANNE 54447-1777
[Most Redent Payment Plan

 

Payments commensurate 2? N/A

 

Frantzen Lumed from the hospital dt due to heart rt complications. She continues to participate | in the Plumber Apprenticeship detail She has no
disciplinaryjinfractions on file.

Next Program Review Goals .

Due to yous heart concems try to exercise daily and eat a balanced diet of moderate portions. Establish a workout routine to improve overall health
through relpase. Participate in a wellness program and/or treatment nt plans. Enroll i in n Silver Yooa by 11/2019.

Long Tex Goats ae ee
Utilize the ghapiain services to assist in si matters and provide cia counseling EnrollComplete RPPHG Threshold by 0 01/2023.

RRC/HC Placement.

No. cea econ . RRC Placement will | be assessed i in n accordance with the Second Chance Act 17-49 months prior to release.
Commen{s .

Consult on an as-needed basis. RRC placement will be assessed in accordance wit the Second Chance Act 17-19 months prior to release.
Reviewed 407/408.

 

 

 

 

 

 

 

 

 

 

Sentry Data as of 06-27-2019 Individualized Reentry Plan - Program Review (Inmate Copy) Page 2 of 3

 

 

 
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 31 of 38 PagelD 11512

Exhibit E
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 32 of 38 PagelD 11513
May 5, 2020

To whom it may concern,

My name is Johnna Legarreta and | am in the United States Military. | am writing in regards to requesting a
compassionate release for my mother, Holly Leanna Frantzen. She is currently under a 16-year sentence given to her by
Judge McBryde out of Fort Worth.

My mother is currently serving her time in Fort Worth Texas at FMC Carswell. She was transferred there about 8
months ago from FCI Aliceville following a very traumatic medical event. My mother, Holly Leanne Frantzen, inmate
number 54447-177 is doing time for a drug conspiracy that revolves around meth. By no means would | ever deny that
my mother was once an addict, However she does not deserve to be sitting in prison under conspiracy charges for drugs,
instead she needs support, love, therapy and most importantly be surrounded by her family who can provide her growth
and be motivation to be a positive asset to the community.

While serving her time at Aliceville, My mother struggled with depression and anxiety to which she was
prescribed effexor extended release. The extended release specifically instructs to not crush or chew due to the nature
of what they are intended for, however the medical staff crushed them up anyways and gave them to her. That night or
the next morning, after my mother woke up not feeling good to which shortly after everything was a blur. She suffered
from a heart attack, there is no heart conditions that run in my family, my mother has always been in great shape and all
around healthy.

When this happened, no one contacted any of her family members, she was in ICU and could have lost her life,
the mere fact that the medical staff crushed up effexor in the first place and wrongfully gave her the medication |
believe caused her to have a heart attack and the care she received following was horrific. My mother could have died
and | didn’t even know about it until a friend of a friend who found out told me in a facebook message. | still didn’t even
get to talk to her until weeks after. She now struggles and lives in prison with PTSD, on top of her anxiety and
depression. She is scared they will give her something else to cause health issues, she lives with horrible scares from
them having to go in and save her life and a defibrillator that is protruding out of her chest, that in my opinion needs
serious reevaluation and attention. | fear for her if the covid-19 gets to her, | sadly believe her heart is not strong enough
to survive. | believe with her just having a heart attack and defibrillator she is at very high risk and | will do anything for
her to be able to serve her time in the comfort of her own home quarantined away from everybody. | fear for her safety
in there, | fear for her health and fear | will never see her again. She has me and my brother, a sister, three beautiful
grandchildren that need her, my grandparents, which are her parents who are getting so old need her. We all need each
other during this time. My mother is one of the most loving caring people | know, she means well and has a heart pure
as gold. She gives everyone the benefit of the doubt and trust far too easily which is a huge factor in why | think she is in
this situation. Yes, she has made some poor decisions, to which she will not deny but that shouldn’t mean to leave her
in prison and potentially risk her life and health safety. But please let her grant her Compassionate release so we can

face this pandemic together and not lase her to it.

iohnna Legarreta

Again, My name is Johnna Legarreta, my point of contact is 813-895-6999 and my email is
Johnna.legarreta@yahoo.com.

Please consider this request and feel free to reach out for any other questions or details.

 
  
   
 

Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 33 of 38 PagelD 11514

May S, 2020
Weldon Wyckoff
10039 Vista Springs Way

Louisville, KY 40291

To Whom it may concern:

As 4 matter of introduction, | am Holly Franzen’s Father. | am writing to express my concern for her
treatment in the Federal Prison System.

While incarcerated at the Alliceville, Alabama facility she was given time released medication crushed

and floated in water which caused her to experience a near fatal heart attack. She had a defibrillator
device implanted.

1 am concerned that if she is exposed to the COVID-19 virus she would not survive it. There is no
ical way her current facility at Carswell can provide an atmosphere to maintain social distance.

Forithis reason, | implore you to consider releasing her before this occurs. She would have a good
support system here and would be protected from this pandemic.

Sinderely Yours
Vite

Weldon Wyckoff

 
Case 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 34 of 38 PagelD 11515

May 5, 2020

To the Honorable Judge McBryde,

Holly Frantzen (my sister) is incarcerated at FMC Carswell. There have been cases of COVID-
19 there and I'm very worried about my sister Holly.

Her health was severely compromised last year when she was given incorrect dosages of
medications at another facility that caused her to have a heart attack and almost cost her life.

She is currently wearing a pacemaker and is at risk for severe complications if she were to
contract the virus.

She has family in 3 different states that love and support her and want to see her safe and happy.
She has a kind heart and a drive to succeed that can overcome past problems and allow her to be
the positive and productive person that we know her to be.

My family and I believe she needs to be out of the medical facility where she's at and back home
where she will be safe. We will be able to provide her with better medical care and help her to
survive this deadly disease. One person has died at her facility and we are afraid if she contracts
this deadly virus she will not be able to survive.

We are asking you to please release my sister and allow us the opportunity to take care of her.

Thank you,
Kelly Grother
 

Cage 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 35 of 38 PagelD 11516

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Cage 4:16-cr-00132-A Document 1588 Filed 05/18/20 Page 36 of 38 PagelD 11517

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